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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                           Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,                           Under Seal

               Defendant.



   GOVERNMENT’S MOTION FOR LEAVE TO FILE PARTIALLY UNDER SEAL

       The United States of America, by and through undersigned counsel, respectfully moves for

leave to file partially under seal Attachment 1 to this motion, which is an unredacted version of

the Government’s Opposition to defendant Concord Management and Consulting’s (“Concord’s)

Motion in Limine to Exclude Evidence (Government’s “Opposition”). In support of its position,

the government states as follows.

       In limited instances, the Opposition refers to: information produced in discovery but

protected from disclosure pursuant to the Revised Protective Order; information regarding

anticipated witness testimony not previously disclosed; and allegations regarding conspirators’

conduct not previously disclosed. To protect this information, including the identity of the

anticipated witness, and to avoid unnecessary prejudice to Concord that may result from certain of

these references, the Government seeks leave to redact these portions of the Opposition in the

publically-filed version of the Opposition and to file an unredacted version of the Opposition,

attached to this motion as Attachment 1, under seal. A version of the Opposition reflecting the

proposed redactions is also attached to this motion as Attachment 2.
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       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       If the Court grants this motion, the Government will promptly file a redacted version of

the Opposition, as well as its accompanying exhibits, on the public docket. The Government

does not object to the unsealing of this motion once the Court rules on the motion; however, the

Government requests that Attachments 1 and 2—the unredacted versions of the Opposition—

remain under seal

       Accompanying this motion is a proposed order.

       Respectfully submitted,


JOHN C. DEMERS                                                 JESSIE K. LIU
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